Case 2:97-cr-20238-.]PI\/| Document 176 Filed 09/02/05 Pagelon Page|DrSZ

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IN THE UNITED sTATES DISTRICT coURT \F"-ED BY did D.c.
FOR THE wEsTERN DISTRICT oF TENNESSEE

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THOMAS M.

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W/D GF T? ii:-ZMPHIS
Nos. 97-20234 Ml
97-20235 Ml
97-20236 Ml
97-20237 Ml
97-20233 Ml
97-20239 Ml
97-20240 Ml
97-20441 Ml

UNITED STATES oF AMERICA,
Plaintiff,

/

V.

EDDIE D. JETER,

Defendant.

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ORDER GRANTING EXTENSION OF TIME TO SURRENDER

 

Before the Court is the Defendant's motion to continue his
surrender date (Defendant's current surrender date is September
6, 2005), filed September 2, 2005. The Defendant requests an
additional thirty (30) days in order to continue his recovery
from a recent heart catherization and to determine if additional

heart surgery and possible eye surgery will be necessary.
The Defendant's motion is hereby GRANTED.

IT IS SO ORDERED THIS 52 DAY OF September, 2005.

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J P. MCCALLA
ITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 176 in
case 2:97-CR-20238 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

